J CASE 0:17-cv-00103-RWP Doc. 1-2 Filed 01/10/17 Had&sMilo?
IN THE FOURTH DISTRICT COURT RECEIVEp

OF THE STATE OF MINNESOTA

FOR THE COUNTY OF HENNEPIN JAN 10 2077
NANCY HULTMAN OHSKUS. DISTRICT coun,
KATHLEEN OLSEN UL, MINNESOTA
Petitioners/Plaintifis,
Vo Court File Case #-27-TR-CV-16-89
JOHN WESTLEY
Respondent/Defendant

)

Notice of Removal to United States District Court .
Respondent/Detendant John Westley in direct support of his Federal Removal Notice to this

lower court and all affected parties hereby states the following:

1, By the filing of this Removal Notice with the Clerk of this state lower court, together with the
attached and corresponding notice for removal that was filed in United States District Court,
these state district proceedings are now REMOVED, by automatic operation of presiding Federal
Law, and the Respondent/Defendant now formally notifies this lower court and all parties of that
factual legal reality.

2. Pursuant to the express and specific language of 28 U.S.C. 1441, et seq. immediately upon the
filing of this Notice, with the lower court Clerk, this case was instantly removed; The removal of
jurisdiction from this lower court is. automatic by operation of presiding Federal Law, and does
not require any additional written order from the lower court District Judge to cause this removal
to become “effective” — the removal is an automatic judicial event, and immediate by operation
of standing United States law. -

3. The United States Supreme Court clarified and a established i in 1966: “The petition is now filed
in the first instance in the federal court. After notice is given to all adverse parties and a copy of
the petition is filed with the state court, removal is effected and state court proceedings cease
unless the case is remanded(28 U.S. C. § 1446 (1964 ed.). See, American Law Institute, Study
of the Division of Jurisdiction Between State and Federal Courts, Tentative Draft No. 4, p. 153 et
seq. (April 25, 1966).” Georgia v. Rachel, 384 U.S. 780, 809 n27, 86 S. Ct. 1783, 16 L. Ed, 2d

925 (1966). SCANNEL
. JAN 10 2017

U.S. DISTRICT COURT ST PAu,
CASE 0:17-cv-00103-RWP Doc. 1-2 Filed 01/10/17 Page 2 of 9

4. Because this cause is now removed, this lower court is without jurisdiction to effect any
hearing or judgment in these proceedings (28 U.S.C. § 1446(c)(3)).

5. The notice of removal to the United States District Court is attached hereto as required by the
express language under the Federal Courts Jurisdiction and Venue Clarification Act.

6. Higher Court jurisdiction is further required due to the unprofessional incompetence of
this lower court which libelously listed Respondent/Defendant’s living Mother as a
“Decedent” on the Notice of Hearing which was then ordered, by publicly corrupt unethical
Fourth District court officers, to be published in Hennepin County legal notice distributions.
7. Despite multiple requests to correct defaming public records and to prevent death notice
publications, Respondent/Defendant’s living Mother attorneys and material fact witnesses
in this action, E. Burke Hinds & Inrelex Law, have refused to protect their client’s welfare.

WHEREFORE, the undersigned Respondent/Defendant John Westley notifies this lower court
and all other interested parties that this cause is now removed, that this venue now has absolutely
no jurisdiction or proceeding standing for any judgment in this civil action, bar none, unless and
until the United States District Court may or may not remand, and further moves for all other
relief that is just and proper for due process timely justice and relief in the higher court premises.

ober 11°, 2016

endant

Panama City FL 3740

CERTIFICATE OF SERVICE
I hereby certify that on this date, a true and complete copy of the foregoing notice of removal to
Federal Court, with required attachment, by United States Postal Service mailing, has been duly
served upon the following Petitioner/Plaintiff attorney:

Justin H. Jenkins (MN #0392625)
225 Sahth Sixth hired Suitt 3500

CASE 0:17-cv-00103-RWP Doc. 1-2 Filed 01/10/17 Page 3 of 9

IN THE UNITED STATES DISTRICT COURT

FOR MINNESOTA
NANCY HULTMAN oe
KATHLEEN OLSEN
Petitioners/Plaintiffs,
VS. Lower Court File Case #-27-TR-CV-16-89
JOHN WESTLEY
Respondent/Defendant
) .
NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, Respondent/Defendant John
Westley hereby denies ali allegations and removes this action from the Hennepin County
Minnesota Fourth District Court to the United States District Court for Minnesota.

Removal is based on USDC jurisdiction due to disputed federal questions, multipie state
diversity grounds, constitutional civil rights issues and precedential Federal Court related cases
that appears in the causes of action of the initial pleading filed by Petitioners/Plaintiffs Hultman
and Olsen. In support of its notice and grounds for removal, Respondent/Defendant Westley
states as follows: oe
a : L Background
1. This case was originally filed by Petitioners/Plaintiffs in Hennepin County Minnesota Fourth
District Court, on August 30", 2016. In accordance with 28 U.S.C. § 1446(a), a copy of all
process, pleadings and orders received by Respondent/Defendant are attached as exhibits.

_ 2. In their filed pleadings, Petitioners/Plaintiffs allege that Respondent/Defendant has been
uncooperative due to communicating and associating with Department of Justice(DOJ)
investigators, Security and Exchange Commission(SEC File #005507928) regulators, and the
United States Attomey Office(USAGO) regarding reported fraudulent acts by Bank of
America(BOA).Merrill Lynch and court officers. According to the Petitioners/Plaintiffs’ filings,
the Respondent/Defendant Westley’s protected civic duty cooperation with Federal law
enforcement breached agreements, disrupted, and interfered with unlawful acts that
Petitioners/Plaintiffs Hultman and Olsen participated in for personal financial illegal gain.

3. With their filed allegations citing other ongoing USDC civil cases and whistleblower criminal

actions involving publically corrupt, convicted felonious governmental employees and disbarred
CASE 0:17-cv-00103-RWP Doc. 1-2 Filed 01/10/17 Page 4 of 9

court officers,  Petitioners/Defendants further frivotously claim, amiong other incoherent,
incorrect, and irrational matters, that the Respondent/Defendant failed to uphold fiduciary
responsibilities by refusing to participate in the administration of unlawful acts that are in known
violation of Federal laws, codes and statutes. : .
IL. The Notice of Removal is Timely Filed

4. This lawsuit is a civil action within the meaning of the United States Acts of Congress relating
to removal of causes. : .
5. Respondent/Defendant received a copy of the initial pleadings by required process service on
September 13", 2016. Be
6. The zemoval of this action to this Court is timely under 28 U.S.C.§ 1446(b) because this
Notice of Removal is filed within thirty (30) days after the September 13" 2016 service date.
7. The United States District Court for Minnesota is the proper place to file this original Notice
of Removal under 28 U.S.C. § 1441(a) because it is the Federal district court that embraces the
Place where the original action was filed and is pending,

. - IML This Court Has Federal Question Jurisdiction
8. Petitioners/Plaintiffs allege claims against the Respondent/Petitioner governed under the
Federal Securities Exchange Act, Investment Advisors Act, Consumer Protection Act, RESPA
and the Whistleblowers Protection Act. Further, Petitioners/Plaintiffs civil action attempts to
deny Respondent/Defendant Constitutional Civil Rights protections of Freedom of Speech and
Freedom to Associate with Federal law enforcement. Therefore, federal question jurisdiction
exists over Petitioners/Plaintifts’ claims under 28 U.S.C. § 1331 because the resolution of stated
claims will require adjudication of disputed questions of Federal laws and Constitutionally
protected civil rights,
9. To the extent the lower court action alleges statutory, state common law or other nonfederal
claims, this Court has supplemental jurisdiction over any such claims under 28 U.S.C. § 1367
due to those claims arising out of the same operative facts as Petitioners/Plaintiffs’ claims
governed under Federal Securities Exchange Act, Investment Advisors Act, Corsumer
Protection Act, RESPA and the Whistleblowers Protection Act. and “form patt of the same case
or controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a). .
CASE 0:17-cv-00103-RWP Doc. 1-2 Filed 01/10/17 Page 5 of 9 .

10. Because Plaintiffs’ claims involve the governing laws of the United States, removal of this
entire cause of action is appropriately required under 28 U.S.C. § 1441(a}(c) and the Federal
Courts Jurisdiction and Venue Clarification Act.
IV. Precedential Case Multiple Diversity
‘11. On July 15%, 2016, well prior to the lower court case filing, Respondent/Defendant filed a
civil! USDC whistleblower action in the Northen District of Florida (Case # 5:16-CV-206)
regarding subject matter banking fraud by BOA involving Petitioner/Plaintiff Olsen’s employer
Coldwell Banker. As such, this precedential multiple diversity higher court action supersedes any
lower court standing tegarding disputed causes of action at issue governed by Federal laws,
codes, and statutes. Removal is required under Separate independent grounds for subject-matter
j urisdiction regarding diversity and disputed Federal questions at issue,
__V. Notice of Removal to the Lower Court
12. Concurrently with this Notice of Removal filing, Respondent/Defendant filed a copy of this
Notice with the Hennepin County Minnesota Fourth District Court. A copy of the written notice
of the Notice of Removal to Federal Court is attached. In accordance with 28 U.S.C. § 1446(d),
Respondent/Defendant will give written notice to Petitioners/Plaintiffs by contemporaneously
serving this Notice of Removal on their legal representative.
13. If any question arises as to the propriety of the removal of this action, Respondent/Defendant
respectfully request the Opportunity to present a brief and oral argument in support of its position
that this case is removable. (See Sierminski v. Transouth Fin. Corp., 216 F.3d 945, 949 (1ith Cir,
2000) (announcing general rule that post-removal evidence in assessing removal jurisdiction may
be considered by the Court).
14. Respondent/Defendant herein reserves all counter claims rights to move to consolidate
related Federal actions as required to preserve valuable public court resources.
VI. Conclusion
For the foregoing reasons, Respondent/Defendant respectfully notices that this civil action
is hereby completely removed to the United State District Court, and that the USDC immediately
assumes jurisdiction of all proceedings, and that this Court enter such other and further orders as
may be necessary to accomplish the stated Temoval to promote the ends of timely due process
justice.
CASE 0:17-cv-00103-RWP Doc. 1-2 Filed 01/10/17 ‘Page 6 of 9

Panaria City FL 32402
CERTIFICATE OF SERVICE

Thereby certify that on this date, a true and complete copy of the foregoing filed removal notice
to Federal Court, with required attachment, by United States Postal Service mailing, has been
duly served upon the following Petitioner/Plaintiff attorney of record:

Justin H. Jenkins N #0392625)
Suite 3500

CASE 0:17-cv-00103-RWP Doc. 1-2 Filed 01/10/17 Page 7 of 9 !

a
State of Minnesota District Court
Hennepin County Judicial District: Fourth
Court File Number: 27-TR-CV~16-89
Case Type: Civil Probate

Nancy Hultman/Kathleen Olsen
Petitioner/Plaintifi(s)
Removal Notice-A ffidavit-Filing Service

VS,

—-.___John Westley
Respondent/Defendant(s)

STATE OF MINNESOTA )
) 53S
COUNTY OF .. Hennepin )
(County where Affidavit signed)

This form is only for civil cases within the scope of MN Rules of Civil Procedure.

1 am the Respondent/Defendant in this matter. ‘I understand that | am under oath/affirmation and that I must tell

1. On October 11° 2016 I filed and served the Notice of Removal to Federal Court(Doc.1D#13) in the
United States District Courtof Minnesota, ©

2, The Clerk of the Federal court personally informed me that the Plaintiffs/Petitioners have the
prosecution burden of their case within 30 days under United States codes, practices, and Rules of
Civil Procedure.

3. [have not received any notices, correspondence or mailings regarding this removed case from the
United States District Court of Minnesota.

4. Imailed a copy of the Notice of Removal and service affidavit to Plaintiffs/Petitioners attorney:

Justin H. Jenkins (MN #0392625) 225 South Sixth Street, Suite 3500 Minneapolis, MN 55402

Ay
Dated: October 21, 2016 AY, Eyit

Signature (Sign only in Front of notary public ar court administrator.)
f

Name: John Westle
V

Subscribed and sworn/affirmed before me

by: otn Westley Address: P.O. Box 346
Date: tof: Zu 20 lo City/State/Zip: Panama City FL 32402

Che Kh. Aebhe— Telephone: 305-731-5500

_ Notary Public \ Deputy Court Administrator

SOPAHE COD istrict4 ENG Rey 5/08 Page 1 of 1
CASE 0:17-cv-00103-RWP Doc. 1-2 Filed 01/10/17 Page 8 of 9

Referee George Borer October 21, 2016
Hennepin County Government Center

400 Court Tower

300 South Sixth Street

Minneapolis, MN 55487-0340

Re: Court File No.: 27-TR-CV-16-89

I am contacting you as an objector in response to the prohibited. inaccurate, and
inappropriate letter sent to you by the attorney for the Petitioners. Enclosed please find an
affidavit of service of the Removal Notice to the Federal Court. Note that I have not received
any correspondence from United States District Court as mistakenly alleged by Mr. Jenkins.

This state court case has been closed and this Court has no further jurisdiction or
standing under Federal law. Mr. Jenkins improperly filed the action and is simply venue
shopping" ‘with ‘his current request to cover for his firm’s procedural errors. Mr. Jenkins has

co: provided. no: proof or support for his allegations and is still free to assert his claims to the
a USDC state. appellate courts seeking the relief he is now requesting.

oe he With: all. ‘respect, this Court has no publicly mandated legal authority to unilaterally
wp ES remand a Federally removed and closed case back to itself. The mistakes committed in this
“so \) action listing my living Mother as a “Decedent” are shameful, incompetent and immoral.
They..cannot>be compounded further to cover up for sanctionable bad lawyering and
disgraceful unethical practices. .

5-731-5500

CASE 0:17-cv-00103-RWP Doc. 1-2 Filed 01/10/17 Page 9 of 9.

State of Minnesota District Court

Hennepin County = Judicial District: "Fourth

Court File Number: . 27-TR-CV-16-89
Case Type: Civil Probate

_Nancy Hultman/Kathleen Olsen _

Petitioner/Plaintiff{s)
: Disputed Incapacitation
Determination Notice
John Westley
Respondent/Defendant(s) .
STATE OF MINNESOTA )
Doe — - SS
COUNTY OF ______ Hennepin _)

"Civil case within the scope of MN Rules of Civil Procedure.

lam the Respondent/Defendant in this matter.

1,
2.

October 27, 2016 -

closed action is rendered moot,

On August 30° 2016 this Court was provided an Incapacitation Determination(Petition-Exhibit 2)
that was fraudulently obtained, ineffectual and unlawfully proffered.

As previously noticed to this and other court officials, my Mother is not dead and her attorney of
record H. Burke Hinds, as the legal custodian of her records, cannot produce complete, accurate
and unaltered copies of the records at issue as demanded by the objectors.

A portion of these issnes:-have been removed to United States District Courts and are sealed under
Federal law enforcement review. ,

With this filing I dispute, rescind, reject and retract any Incapacitation Determinations filed under
my name. As such, the Trust in question remains under the control of nry living Mother and this

Panama City FL 32402

Telephone: 305-731-5500

SOPH = Districi4 ENG Rev 5/08 Page 1 of 1
